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            IN THE LINITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


LINITED STATES OF AMERICA

V                                            4:18CR76-RH

JOHN THOMAS BURNETTE.




          DEFENDANT'S SEALED OMNIBUS MOTION IN LIMINE

      Defendant, John Thomas Burnette ("Burnette"), pursuant to Federal Rule          of

Criminal Procedure 12, respectfully moves the Court to exclude Government

Exhibits 201,206,207,232,344, 345,349,78, 82, 91(i),       g   UJ),92(g),92(h),96(a),

96(b), 96(e), and 96(f) from evidence at     trial.t In support, Burnette    states   as


follows

                                INTRODUCTION

      The Government improperly seeks         to   introduce several categories of

documents into evidence. First, the Government seeks            to introduce multiple
exhibits containing incomplete text message compilations that cannot                  be

authenticated. These prejudicial compilations are inaccurate depictions       of text



1
 As will be detailed below, Burnette is only seeking to exclude a specific portion
of Government Exhibits 78 and 82
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message conversations between individuals in this case and include inadmissible

hearsay from unrelated individuals.2

        Second,theGovernmentisseekingtointroduceanexhibitentitledw

                 that was amended from the version produced in discovery.3 Despite

amending this exhibit        by removing     the             Redacted                    the

Government failed          to notifz Burnette that it was amending the document or
provide any information that would authenticate or support the accuracy of the

amended document.

         Third, the Government seeks to introduce exhibits containing hearsay and

improper and prejudicial speculation by                        Redacted
                                                        a   These categories of documents

also fail to satisfy Federal Rule of Evidence 403 because their probative value is

substantially outweighed by a danger           of unfair prejudice, confusing the issues,

andlor misleading the       jury.   Moreover, these documents are likely to confuse the

jury   because they are either      (i) compiled in a way that affirmatively misrepresents

conversations, or   (ii)   made to conjure an emotional appeal with the   jury through   an

individual's personal feelings rather than personal knowledge. As such, these

documents should not be admitted into evidence



2
  Government Exhibits 201 ,206,207
3
  Government Exhibit 232.
, Government Exhibits 344,345,349


                                                2
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         Fourth, the Government seeks to introduce                Redacted
                        . Any purported probative     value of this portion is outweighed

by its prejudice.5

         Finally, the Government intends to introduce portions of audio recordings

and corresponding transcripts from                          Redacted
                                                                            include highly

prejudicial statements that substantially outweigh any probative value and,

therefore, fail to satisfy Rule   403. Additionally,              Redacted
have nothing to do with the facts at issue and would only serve             to confuse the

relevant issues for the   jury.   Thus, the Court should exclude these portions of the

audio recordings and transcripts. Each objection      will now be discussed in turn.

                                  LEGAL ARGUMENT

I.       The Court Should Exclude Government Exhibits 201, 206, And 207
         From Evidence Because These Exhibits Cannot Be Properly
         Authenticated.

         Government Exhibits 201,206, and 207, filed under seal as Exhibit           "A,"
           ooCtt respectively, are compilations      of text messages between
'oB,tt and                                                                         various

parties. These exhibits cannot be properly authenticated because the compilation

of text messages: (i)       are not an accurate depiction         of the text message
conversations between the parties, andlor        (ii) include irrelevant   communications

s
     Government Exhibits 78 and 82.
6
     Government Exhibits 91(i), 910), 92(g),92(h),96(a),96(b), 96(e), and 96(f)

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with individuals that have no involvement or relevance to this case and as such are

inadmissible hearsay

        In   December   of 2020, Burnette raised this authentication       objection to

Government Exhibit 206 with the Government.             In   response, the Government

informed Burnette that Government Exhibits 201 and 206 were generated from

                    Redacted                       , that neither exhibit purports to be

an exhaustive list of all communications between             Redacted         , and the

exhibits     will not be entered into evidence for that purpose.      Furthermore, the

Government stated that to the extent there are relevant text messages not included

in these exhibits Burnette can explore them through cross-examination. Following

this communication, Burnette awaited the Government's final exhibit list to see if

these exhibits had been amended or whether any further witnesses            or exhibits

would be included for authentication. Based on a review of the Government's final

exhibit list, no such amendments or additions were made.

        Government Exhibits 201   ,206,    and 2077 should be excluded because they

cannot be properly authenticated. According to Federal Rule of Evidence 901: "To

satisfy the requirement of authenticating or identiffing an item of evidence, the

proponent must produce evidence sufficient to support a finding that the item is

what the proponent claims       it is."    Fpn. R. Evto.     901. More specifically,
7
    Government Exhibit20T is a com        tion of text mess ages   entitl.dEE&EE

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"[e]vidence may be authenticated through the testimony               of a witness with
knowledge." United States v. Lanzon,639 F.3d 1293, 1301 (llth Cir. 2011).

Admittedly, "[t]he proponent need only present enough evidence 'to make out              a


prima facie case that the proffered evidence is what          it   purports   to be."' Id.
(quoting United States v. Caldwell,776 F.2d 989, 1002 (11th Cir. 1985)). Here,

however, the Government has not provided any methodology report or witness to

authenticate how Government Exhibits 201,206, and 207 were created. Moreover,

no witness will be able to testify that these text message exhibits are true and

accurate depictions of all the text messages during the relevant time periods

          For example, while the Government has represented that              Government

Exhibits 201 and 206 were generated from           Redacted          the Government has

failed to present any methodology report to confirm this representation. In

addition, there is no expert witness on the Government's witness list that can

testify   as   to how these exhibits were created, and the Government has not indicated

that the two case agents or anyone else listed on its witness list are qualified to do

SO    Although the Government has stated that the texts messages in Government

Exhibits 201 and 206 are not an exhaustive list of all communications between

      Redacted             , without any indication otherwise, it would appear to a jury

that these exhibits are just that, an exhaustive list of communications.




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       Government Exhibit 201 is described     as             Redacted
               however, given that Government Exhibit 206 contains additional

meSSageSbetween@,GovernmentExhibit20lisnotafairand
accurate depiction    of what it   claims    to be in its description.8 Without a
methodology report or an appropriate witness, Government Exhibit 201 cannot be

properly authenticated.

       Similarly, while Government Exhibit 206 is described on the Government's

exhibit list   as                        Redacted                                   "it
misleadingly implies that   it is a fair and accurate depiction of all text message
communications between          Redacted                 Government Exhibit 206, like

Government Exhibit 201, is a selection       of text messages betw..n   EEEE!!
I         compiled in a way that tends to misrepresent the conversations contained

therein because they are incomplete. Government Exhibit 206 does not even

include text messages                Redacted
       Moreover, several messages included          in   Government Exhibit   206   are

incomplete because the Government failed to increase the cell size to include the




8 Defense Exhibit 390 is the same as Government Exhibit 201. Burnette has
included Defense Exhibit 390 out of an abundance of caution; however, Burnette
does not intend on entering this exhibit into evidence during his case-in-chief.
Instead, Burnette will use this exhibit for impeachment or to refresh a witness's
recollection. Conversely, the Government has represented to Burnette that it does
intend to introduce Government Exhibit 201 into evidence in its case-in-chief.


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full message.e Thus, not only does the exhibit not include all the communications

between          Redacted         , but some do not even include a complete
communication. The Government cannot authenticate a communication that is

incomplete in the exhibit because it failed to properly format the document

        Lastly, Government Exhibit 207 is also not a fair and accurate depiction of

all the messages between the parties contained within the exhibit. First, it contains

incomplete messages due to the Government's failure to increase the cell size to

include the    full message.   Second, Government Exhibit 207       is described as
                               Redacted                                  bul appears

to contain messages from                Redacted                   that (as there has

been no methodology report provided)                      Redacted
                                                                  by message type
(iMessage, SMS, etc.) rather than chronologically. However, it is unclear whether

these messages include the complete conversations between all these individuals,

whether these messages only include parls of conversations that were group texts

*i,h   re&Ereq       and were included in the iCloud extraction, or are some other

compilation of messages selected by the document's unknown author.            If other
messages exist between these individuals that would complete these conversations,




e
    For example, see rows 1660 and 2384 in Ex. B

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then Government Exhibit 207        is not a fair and accurate       depiction   of the
conversations it purports to represent, and should be excluded.

        Without any evidence detailing the methodology of how Government

Exhibits 201, 206, and 207 were created, these exhibits cannot be properly

authenticated, and should be excluded. Burnette should not have to explore the

authentication and content of these exhibits through cross-examination when the

Government has not provided the evidence needed for them to be admitted in the

Government's case-in-chief

il.     The Court Should Also Exclude Government Exhibit 207 Because It
        Contains Irrelevant Messages and Inadmissible Hearsay.

        The Court should also exclude Government Exhibit 207 because the entire

exhibit is irrelevant. It consists of                   Redacted
littered with inadmissible hearsay because   it   includes text message conversations

betweenry         and an array of individuals that have nothing to do with this case.

For example, Government Exhibit 207 includes messages relating ,o EEEE




                                                  None of these conversations with

unrelated individuals, have any relevance to a single fact in the Government's case.




                                         8
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       Additionally, the Court should exclude Government Exhibit 20'7 because the

entire exhibit consists of inadmissible hearsay under Rule 801(c). Because the text

messages between                                 Redacted                             afe

contained in Government Exhibit 207, and because none of these individuals are

alleged     to be co-conspirators or have any relevance to the     issues at trial, the

entirety    of   Government Exhibit 207      is inadmissible hearsay.       There   is no
conceivable non-hearsay purpose for all of the statements included in Government

Exhibit 207, nor is there any hearsay exception upon which these statements can be

admitted into evidence. As such, the Court should exclude Government Exhibit

207 from evidence pursuant to Rules 401, 402 and 801 of the Federal Rules of

Evidence.

ilI.   Any Potential Probative Value Of Government Exhibits 201,206, And
       207 ls Substantially Outweighed By Unfair Prejudice, Confusing The
       Issues, And Misleading The Jury.

       Even      if the Government could   articulate some way in which Exhibits 201,

206, and 207 could be authenticated and were 1elsy4n1-v/hich           it   cannot-the

probative evidentiary value is substantially outweighed by the dangers of unfair

prejudice, confusing the issues, and misleading the jury. Thus, the Court should

exclude this evidence under Rule 403

       If   the Government agrees that Exhibit 206 is not an exhaustive list of

communications between             Redacted           ,   and the Government is not


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intending to use it as a summary exhibit of selected text messages under Rule 1006

or for use for impeachment or refreshing a witnesses' recollection, then there is no

legitimate purpose to introduce an incomplete compilation of text messages into

evidence. Specifically, it is a compilation of text messages that does not include

relevant time periods and is not even formatted in a manner to allow the jury to

read entire text messages in chronological order.

      Moreover, Government Exhibit 207 contains a slew of text messages on                 a


range of topics that have nothing to do with this case. Allowing such an exhibit to

beenteredintoevidencewillonlyservetoconfusethejury.@


                                                          are simply irrelevant and their

admission   will only distract   and confuse the   jury

IV    The Court Should Exclude Government Exhibit 232 Because It
      Contradicts Other Evidence The Government Produced To Burnette.

      Government Exhibit 232, entitled                          Redacted
                                       should be excluded because         it   affirmatively

misrepresents   the evidence supporting the exhibit that the Government                  has

produced. Government Exhibit 232, filed under seal as Exhibit "D," is a revised

versionoftheSame@providedtoBurnetteindiscoveryandis
identified by the same bates number. A copy of the prior version of the document

is included on Burnette's exhibit list as Defense Exhibit 786 and filed under seal as


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Exhibit ooE." While identified by the same   bates number, Government Exhibit

232, unlike the prior version, does not include the        Redacted
                                             Despite raising this issue with the

Government, the Government has refused      to provide a new bates number for

Government Exhibit 232 or provide any explanation or any further evidence that

would substantiate why this amount was removed from the total

      According   to   the                    Redacted




                             r       II               I     I




                                 The Government has not provided any additional

Jencks material from                 Redacted                     or provided   a



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reason why this document (identified by the same bates number as the original)

was amended

       To the extent that the Government has Jencks or Brady material or other

information supporting its amendment to this chart, this Court should Order the

Government to produce   it.   Without this information, Government Exhibit 232 is

inaccurate and affirmatively misrepresents the same document that was produced

in discovery. Consequently, it should be excluded

V      The Court Should Exclude Government Exhibits 344, 345,349 Because
       They Contain Inadmissible Hearsay And Their Probative Value Is
       Substantially Outweighed By A Danger of Unfair Prejudice.

       Government Exhibits 344,345,349 filed under seal as Exhibits    "F," *Gr"
and ooH" respectively, include impermissible hearsay as well ur   EE&@il

                                                    For example, in Government

Exhibit 344,                              Redacted




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                   Redacted




      Likewise, Government Exhibit 345 also includes           Redacted




                                                                       Similarly,

Government Exhibit 349   is an   email                 Redacted




                                                                             The

Government's use of       Redacted               in Government Exhibits 344,345,

and 349 is simply inadmissible hearsay, speculation, and an emotional appeal to

mislead the jury

      Moreover, as the Government             is keenly aware, @




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                                    Redacted
Admitting such evidence is not only unfairly prejudicial, but also will lead to    a


mini-trial over                 Redacted               on a whole array of    issues

throughout20l3andintoearly20l4.ShouldtheCourtallow@
I             statements to be admitted, Burnette should be permitted to explore all

of the inaccuracies of                          Redacted




                                                                            Whal" is

relevant is what occurred,                        Redacted
                                        is just as irrelevant as certain potential
witnesses' opinions                             Redacted




VI.      Government Exhibits 78 and 82 Should be Redacted To Exclude
         Prejudicial Portions That Are Inadmissible Pursuant to Rule 403.

         The Government has also included audio clips and transcripts containing

unfairly prejudicial content which should be excluded under Rule         403. For
example, Government Exhibit 82,10 which has been filed under seal as Exhibit

"Ir"   contains the following                      Redacted
r0
     Government Exhibit 82 is a transcript of Government Exhibit 78

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                                     Redacted




         In January, Burnette conferred with the Government about this   statement.

The Government represented that the statement was being offered for               the

                                   Redacted                                      The

Government's response is disingenuous at best.ll In fact, a review of the transcript




I   I It is concerning to Burnette   that the Government would           t   that the
statement was           used for                    Redacted




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                                       Redacted




                                                                                    Ex. I

at   2.   This is a very different question and is not a highly prejudicial leading

statement.                                   Redacted

                                                                       - there can be no
probative value in the response     it elicits. Furthermore, the types of language    and

statements used between                             Redacted


          Thus, the Court should preclude the Government from admitting this portion

of the recording into evidence

VII.      The Court Should Exclude Government Exhibits 91(i), 91CI), 92(g),
          92(h), 96(a),96(b), 96(e), and 96(I) As Irrelevant Under Rules 401 And
          402 And Unduly Prejudicial Under Rule 403.

          While both parties intend to introduce certain audio .tipt   ofEEEEil
statements for non-hearsay purposes, Government Exhibits 91(j), 92(h),96(b), and

96(f)t', which have been filed under seal as ExhibitooJr" ,nK:) ool," and         er1y113rr




12
  The corresponding audio clips that are not filed under seal are 91(i),92(g),96(a),
and 96(e).


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respectively, include statements that are inadmissible because they are not relevant,

highly prejudicial, and likely to confuse the issues for the jury. Importantly, while

this Court has previously ruled that statements related to Maddox's recusal           are

relevant and admissible to weigh the veracity of the Government's allegation that

in or about December 2013 a bribe was paid for              such recusal,   ,h.   W
            included in Government Exhibits 91(i), 96(b), and 96(f) are irrelevant,

prejudicial,andwouldconfusetheissuesforthejuryas.h.'@




        The oral and written statements from   ry          that Burnette may introduce

into evidence go directly to relevant trial       issues            Reda



                                      Indeed, the Court denied the Government's

previousmotioninliminetoexcludewstatementsbecausethestatements,

along with other evidence reflecting the public nature of Maddox's recusal, were

deemed relevant and admissible. The Court reasoned


              [I]f the facts are that Mr. Maddox    recused himself in
             advance of the payment that the government says was a
             bribe to recuse himself and if Mr. Burnette knew he had
             recused himself, it does affect the analysis of whether the

13
  While the header of the subsequent pages identifies this exhibit as Government
Exhibit 96(f), there is a scrivener's error on the cover page incorrectly identifuing
the exhibit as Government Exhibit 96(d).

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             money was really a bribe to get him to do something he
             had already said he would do, and so it matters that Mr.
             Maddox had recused himself. It matters that it got
             reported. Because the recusal that gets reporled it's
             probably a little harder to then withdraw. And statements
             made ahead of time, that might have contributed to the
             recusal, may play into that also.

Hr'g Trans   7:21-8 6. The Couft, however, cautioned the parties about making

W"         feature of the trial

             You can prove Mr.           Maddox's recusal and the
             circumstances that led to it, but you need to do it focused
             on what matters in this case and not all that other stuff.
             There's material quoted in the - I believe it's in the
             government's memorandum on this...The material
             quoted in the government's response, and there is
             material in the record, that plainly is not going to come in
             under Rule 403. Much of it is irrelevant also, but even if
             it was deemed relevant, or part of the same document, it
             would not come in. I don't think it ought in fairness to be
             considered together. I don't think some of that material
             would come in under Rule 106, but even if 106 is
             otherwise deemed applicable that stuff is not coming in
             under 403. Some of that is the very paradigm of why
             Rule 403 is in the book. Enough said about that. The
             ruling basically is that the motion in limine is denied, but
             I do want the defense to hear the explanation and know
             very well that you can do what really goes to the issues,
             and please don't try to go beyond it. Enough said
             probably along those lines.

Id. at   8:14-9:10. Based on the Court's ruling, the statements included in

Government Exhibits     9l(i), 910), 92(g),92(h),96(a),96(b), 96(e), and 96(f) are
inadmissible. While the Government has represented that these clips are only

listed in an abundance of caution in case they are needed based on any argument,


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cross-examination, or other evidence introduced by BurneIte, a review of these

short audio transcripts reflects that there is no conceivable purpose for them to be

used at trial.

       Government Exhibits     9l(i)   and 91O focus solely on       Redacted


                                                             While other of

               havecommentsrelated.oWwhichareinextricablyintertwined

with discussions of EEEEE or other topics, the specific audio clip at issue

onlyaddreSsesE@.Given.t'u.EEEE0hasnothingtodowiththis
case, any evidence solely related ,o     [l&80          is irrelevant and its admission

will only serve to confuse   the jury.

       Government exhibits 92(g) and 92(h) also include irrelevant discussions       of

                  business interests as well      as          Redacted


Furthermore, there would be no conceivable basis          to use these statements for

impeachmentoranyotherpurpose.Whiletheseexhibitsincludew
                                                                  Burnette already has

relevant statements from                          Redacted                 during this

commission meeting      in Defense Exhibits 34 and 35 that do not include          any

reference ,o     EE&80       or any other inadmissible content.



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       GovernmentExhibits96(a)and96(b)shouldbelimitedonlytow




I          Burnette's use of the commission meeting on           Redacted




                                                             Additionatty,   EEEE




Government Exhibit 96(b) is wholly irrelevant and is likely to confuse the jury

between the                               Redacted


                                              and therefore should be excluded

       Lastly, Government Exhibits 96(e) and 96(f) should be excluded because the

relevant portions of       Redacted             are already included in Burnette's

defense exhibits, namely the portions that relate ,o   EEEE        The remainder of

Government Exhibit 96(f) includes                       Redacted


                                                                 Allowing evidence


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regarding                      Redacted                       is highly prejudicial to

Burnette and     is completely irrelevant to this case. Moreover, allegations
concernlng                    Redacted                      is also entirely irrelevant.

WhileBurnettenarrowlytailoredhisselectionof@,itseemsthe
Government has gone through each                          Redacted



I           on its exhibit   list. These clips do not need to be included out of an
abundance of caution because there is no conceivable situation where any of these

clips would be relevant and admissible. Consequently, this Court should exclude

these clips and transcripts from evidence at trial.

                                    CONCLUSION

       Burnette respectfully requests that the Court exclude Government Exhibits

201, 206, 207, 232, 344, 345, 349, 78, 82,     gl(i),91(j), 92(g), 92(h), 96(a),96(b),

96(e), and 96(f) from evidence and grant such further relief that the Court deems

just and appropriate

Dated: June 1.2021.                        Respectfully submitted,




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                                Burnette




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                         CERTIFICATE OF CONFERENCE

         In accordance with the local rules, the undersigned conferred with   counsel

for the United States of America regarding the relief sought in this motion. The

United States of America objects to the relief sought in this motion.

                                                 /s/ Gresory W. Kehoe
                                                   Attorney



                           LOCAL RULE      7.1      CERTIFICATE

         I certi$z that this paper contains 4772 words, per Microsoft    Word's word

count, which complies with the word limit requirements set forth in Local Rule

7.1(F)

                                                 /s/ Gregory W. Kehoe
                                                   Attorney


                            CERTIFICATE OF SERVICE

         I   HEREBY CERTIFY that on this lst day of June, 2021,I electronically

filed the foregoing with the Clerk of the Court by using the CM/ECF           system,

which will send a notice of electronic filing to all counsel of record

                                                 /s/ Gregory W. Kehoe
                                                   Attorney




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